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                        EXHIBIT 19
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                 September 3, 2008
                   (Designations)

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